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     8                                 UNITED STATES DISTRICT COURT
     9                                CENTRAL DISTRICT OF CALIFORNIA
    10
    11   Bruce Treuhaft,                                ) CASE NO.: 2:20-cv-11155-SVW-GJS
                                                        )
    12          Plaintiff                               ) JUDGMENT
                                                        )
    13          vs.                                     )
                                                        )
    14   Mercedes-Benz USA, LLC et al,                  )
                                                        )
    15          Defendant.                              )
                                                        )
    16
    17          Pursuant to the Offer and Acceptance of Judgment [68], filed on November 24, 2021,
    18   judgment is entered for plaintiff and against defendant, pursuant to the conditions set for in the Offer
    19   of Judgment.
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    21
    22            December 1, 2021
         DATE: __________________
                                                                        Clerk of the Court
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